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FILED

IN THE UNITED STATES DISTRICT COURT
MAR 10 2010

FOR THE EASTERN DISTRICT OF CALIFORNIA _ CLERK, U.S. DISTRICT couRT
EASTERN DISTRIGT OF ALIFORNIA

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ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA

Plaintiff,
VS.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES,
INC., LOTUS DEVELOPMENTS,
LP, THE CITY OF WASCO, AND
DENNIS W. DeWALT, INC.,

Defendants.
/

NOTE FROM THE JURY

The jury has reached a unanimous verdict.

The jury requests the following :

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sift MAY SI72. Ano How Lore WoulD Thar () BE SAU.

‘he jury has the following question(s):

DATED: March 2010 fuuipdiBer, Co

PRESIDING JUROR

